
ORDER
hThe Office of Disciplinary Counsel (“ODC”) commenced an investigation into numerous complaints of serious professional misconduct filed against respondent. These matters involve a pattern by respondent of accepting fees from clients, failing to complete the agreed upon legal tasks, and then failing or refusing to refund the unearned fees. Respondent now seeks to permanently resign from the practice of law in lieu of discipline. The ODC has concurred in respondent’s petition.
Having considered the Petition for Permanent Resignation from the Practice of Law filed by Bruce A. Craft, Louisiana Bar Roll number 20766, and the concurrence thereto filed by the ODC,
IT IS ORDERED that the request of Bruce A. Craft for permanent resignation in lieu of discipline be and is hereby granted, pursuant to Supreme Court Rule XIX, § 20.1 and Rule 5.5 of the Rules of Professional Conduct.
IT IS FURTHER ORDERED that Bruce A. Craft shall be permanently prohibited from practicing law in Louisiana or in any other jurisdiction in which he is admitted to the practice of law; shall be permanently prohibited from seeking readmission to the practice of law in this state or in any other jurisdiction in which he is admitted; and shall be permanently prohibited from seeking admission to the practice of law in any jurisdiction.
FOR THE COURT:
/s/ Jefferson D. Hughes III.
Justice, Supreme Court of Louisiana
